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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                       (GREENBELT)

IN RE:                                             )
                                                   )
PROSPERITY PARTNERS INC.                           )     Case No. 23-17059 MCR
                                                   )     (Chapter 7)
                 Debtor                            )
                                                   )
*    *   *   *   *   *    *   *   *   *    *   *   *
                                                   )
HARD MONEY PA LLC                                  )
                                                   )
                 Movant,                           )
                                                   )
v.                                                 )
                                                   )
PROSPERITY PARTNERS INC.                           )
                                                   )
and                                                )
                                                   )
ROGER SCHLOSSBERG                                  )
Chapter 7 Trustee                                  )
                                                   )
                 Respondents.                      )

                       AMENDED NOTICE OF MOTION FOR RELIEF
                          FROM STAY AND HEARING THEREON
                     (7755 & 7757 Belle Point Drive, Greenbelt, MD 20770)

        Hard Money PA LLC (“Movant”), has filed papers with the Court seeking relief from the
automatic stay of 11 U.S.C. § 362(a) to enable it to exercise all rights against the property located
at 7755 & 7757 Belle Point Drive, Greenbelt, MD 20770 (the “Property”) under applicable state
law and its rights under Movant’s Commercial Flat Rate Note With Balloon Payment and Deed of
Trust, Assignment of Rents and Security Agreement with the Debtor.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       If you do not want the court to grant the motion, or if you want the court to consider your
views on the motion, then by December 9, 2024, you or your lawyer must file a written response
with the Clerk of the Bankruptcy Court explaining your position and mail a copy to:
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                                      Rebekah F. Paradis
                                      Benjamin P. Smith
                                    Shulman Rogers, P.A.
                             12505 Park Potomac Avenue, 6th Floor
                                     Potomac, MD 20854

                                                and

                                       Roger Schlossberg
                                        P.O. Box 2067
                                     Hagerstown, MD 21742

      If you mail rather than deliver your response to the Clerk of the Bankruptcy Court for filing,
you must mail it early enough so that the Court will receive it by the date stated above.

        The hearing is scheduled for January 9, 2025, at 10:00 AM in United States Bankruptcy
Court, in Courtroom 3-C located at 6500 Cherrywood Lane, Greenbelt, MD 20770.

    IF YOU OR YOUR LAWYER DO NOT TAKE THESE STEPS BY THE
DEADLINE, THE COURT MAY DECIDE THAT YOU DO NOT OPPOSE THE RELIEF
SOUGHT IN THE MOTION AND MAY GRANT OR OTHERWISE DISPOSE OF THE
MOTION BEFORE THE SCHEDULED HEARING DATE.

                                              Respectfully submitted,

                                              SHULMAN ROGERS, P.A.

                                      By:      /s/ Rebekah F. Paradis
                                              Rebekah F. Paradis (Bar No. 30948)
                                              Benjamin P. Smith (Bar No. 17680)
                                              12505 Park Potomac Avenue, Sixth Floor
                                              Potomac, Maryland 20854
                                              TEL: (301) 230-5257 (Paradis)
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                                                      Attorneys for Movant

Dated: November 25, 2024
